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 1 JOHN M. RUNFOLA SBN 096058
   Pier 9, Suite 100
 2 San Francisco, CA 94111-1497
   Telephone: (415) 391-4243
 3 Facsimile: (415) 391-5161
 4 Attorney for Defendant
   CHERYLL DEL ROSARIO
 5
 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
 9
10    UNITED STATES OF AMERICA,                        No. CR-05-00278 PJH

11                  Plaintiff,                         STIPULATION AND [PROPOSED]
                                                       ORDER EXCLUDING TIME
12          v.

13    CHERYLL DEL ROSARIO
      JENNIFER K. BUSTOS
14
                    Defendants
15
16
            The above-captioned matter came before the Court on June 8, 2005, for status. Defendant
17
     Jennifer Bustos was represented by Lorne Dubin. John Runfola, counsel for defendant Cheryll
18
     Del Rosario, was ill and not present. The government was represented by Hartley West, Assistant
19
     United States Attorney. The case was set for June 15, 2005, at 2:30 p.m. for change of plea or
20
     motions/trial setting.
21
     The parties stipulate and agree, and the Court finds and holds as follows:
22
            This matter is currently scheduled for a change of plea or motions/trial setting hearing
23
     June 15, 2005 at 2:30 p.m. John Runfola, counsel for the Cheryll Del Rosario, is scheduled to
24
     appear in the United States District Court for the District of Hawaii in United States v. Gino
25
     Naval Case No. CR-04-00091 HG. He had requested a continuance of this sentencing which was
26
     denied by Judge Gillmore.
27
            The parties request that the Court make a finding that the time between June 15, 2005,
28
     and June 22, 2005 should be excluded under the Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(A),
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 1
     and the Federal Rule of Criminal Procedure 5, because the ends of justice served by taking such
 2
     action outweigh the best interest of the public and the defendant in a speedy trial. That finding is
 3
     based on the defendant’s request to insure adequate preparation of her counsel, and the need for
 4
     the defendant to have reasonable time necessary for effective preparation, taking into account the
 5
     exercise of due diligence, and for continuity of counsel. That finding should be made pursuant to
 6
     18 U.S.C. §3161(h)(8)(B)(iv).
 7
            The parties hereby agree and request that the case be continued until June 22, 2005 at 2:30
 8
     p.m., and that an additional exclusion of time until that date be granted. The parties agree and
 9
     stipulate that the additional time is appropriate and necessary under Title 18, United States Code,
10
     § 3161(h)(8)(A), because the ends of justice served by this continuance outweigh the best interest
11
     of the public and the defendant in a speedy trial.
12
13
            IT IS SO STIPULATED.
14
15
     Dated:06/13/05                                ________________/s/____________________
16                                                 JOHN M RUNFOLA,
                                                   Counsel for Cheryll Del Rosario
17
18 Dated: 06/13/05                                 _______________/s/_____________________
                                                   LORNE DUBIN
19                                                 Counsel for Jennifer Bustos
20
     Dated:06/13/05                                _______________/s/_____________________
21                                                 JEFFREY FINIGAN
                                                   Assistant United States Attorney
22
23          IT IS SO ORDERED.
24
           6/15/05
25 Dated: _________                                ____________________________________
                                                   PHYLLIS J. HAMILTON
26                                                 United States District Court Judge
27
28


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